                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – DETROIT


IN THE MATTER OF:
                                                                 CHAPTER 13
Yvonne Rose Mackiewicz                                           CASE NO. 17-54305
                                                                 JUDGE Mark A. Randon
                      Debtor(s)
______________________________/



                      ORDER DISALLOWING THE PROOF OF CLAIM OF
                      VERIPRO SOLUTIONS, INC. (PACER CLAIM NO. 6)

         This matter came on for hearing upon the Objection to Proof of Claim filed by the
debtor, the Objection having been served with the Notice of Objection to Claim in accordance with the
local bankruptcy rules, the requisite time for a response having passed, no response to the Objection
having been timely filed and served, and the Court being otherwise sufficiently advised in the premises;

         IT IS HEREBY ORDERED the Court shall disallow the Proof of Claim filed on behalf of
Veripro Solutions, Inc. (Pacer Claim No. 6), on March 1st, 2018 in its entirety, and grant any further and
other relief as this Court deems equitable and just, including entering an Order absolving the Trustee from
any duty to recoup disbursements previously made to Veripro Solutions, Inc..


Signed on July 26, 2018




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